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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


FBR CAPITAL MARKETS & CO.,

                                  Petitioner,

          v.                                                  Civil No. 13-00535 (RCL)

PETER D. HANS,

                                  Respondent.


            RESPONDENT’S MOTION FOR ATTORNEYS FEES AND EXPENSES

          Respondent Peter D. Hans (“Hans”), by the undersigned counsel, respectfully moves

pursuant to D.C. Code § 16-4425(c) and Fed. R. Civ. P. 54, for an award of attorneys fees and

expenses, and states:

          1.       This is a matter arising out of an arbitration proceeding conducted by the

Financial Institutions Regulatory Authority (“FINRA”). On March 20, 2013, the FINRA panel

awarded Mr. Hans $267,960 against the Petitioner FBR Capital Markets & Co. (“FBR”).

          2.       Thereafter, FBR filed a petition in this Court seeking to vacate the award.

Mr. Hans opposed that motion and filed a cross-motion, pursuant to the Federal Arbitration Act

and the District of Columbia Revised Uniform Arbitration Act (“DCRUAA”), seeking

confirmation of the arbitration award.

          3.       On October 18, 2013, this Court issued an Opinion and a judgment granting

Mr. Hans’ motion and denying FBR’s petition.

          4.       The DCRUAA provides that on an application to confirm an arbitration award,

the Court may award the prevailing party “reasonable attorney’s fees and other reasonable




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expenses of litigation incurred in a judicial proceeding after the award is made to a judgment

confirming . . . an award.” D.C. Code § 16-4425(c).

          5.       In connection with these post-award judicial proceedings Mr. Hans has incurred

attorneys fees in the amount of $35,727.50, and expenses in the amount of $3,183.51.

          6.       As further grounds for this motion, Mr. Hans directs the Court to his supporting

memorandum filed this date, as well as the accompanying Declaration of Robert R. Vieth.

          7.       Before filing this motion, counsel for Mr. Hans exchanged emails with

Mr. Kennedy, counsel for FBR, seeking confirmation that FBR, in fact, opposed Mr. Hans’

request for fees. Mr. Kennedy acknowledged receipt of that email, but he has not yet notified the

undersigned counsel of FBR’s final position as to this motion. Although this motion was filed

before FBR announced its position in response to that recent email, it appears from its earlier

filings that FBR contends that the DCRUAA does not apply and therefore that FBR opposes Mr.

Hans’ request for attorneys fees.
          WHEREFORE, Mr. Hans requests that the Court award him his attorneys fees in the

amount of $35,727.50, and expenses in the amount of $3,183.51; and that the Court award such

further relief as the Court deems appropriate.

                                                 Respectfully submitted,



                                                        /s/
                                                 Wayne G. Travell, Esq. (Bar No. 372658)
                                                 Robert R. Vieth, Esq. (Bar No. 406941)
                                                 LEACH TRAVELL BRITT pc
                                                 8270 Greensboro Drive, Suite 1050
                                                 McLean, Virginia 22102
                                                 Tel: (703) 584-8900
                                                 Fax: (703) 584-8901
                                                 E-mail: wtravell@ltblaw.com
                                                         rvieth@ltblaw.com
                                                 Counsel for Respondent Peter D. Hans

Dated: October 23, 2013

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                                   CERTIFICATE OF SERVICE


          I hereby certify that on this 23rd day of October, 2013, a true and correct copy of the

foregoing Respondent’s Motion for Attorney’s Fees and Expenses was filed via the Court’s

CM/ECF system, which system will send notification of this filing to the counsel below, and

served by electronic mail and by first-class mail, postage prepaid, upon the following:


                                 Paul J. Kennedy, Esq.
                                 S. Libby Henninger, Esq.
                                 Littler Mendelson, P.C.
                                 1150 17th Street, N.W., Suite 900
                                 Washington, D.C. 20036
                                 T: (202) 842-3400
                                 F: (202) 842-0011
                                 pkennedy@littler.com
                                 lhenninger@littler.com




                                                               /s/
                                                        Robert R. Vieth




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


FBR CAPITAL MARKETS & CO.,

                            Petitioner,

          v.                                         Civil No. 13-00535 (RCL)

PETER D. HANS,

                            Respondent.




                    MEMORANDUM IN SUPPORT OF RESPONDENT’S
                    MOTION FOR ATTORNEYS FEES AND EXPENSES




                                          Wayne G. Travell, Esq. (Bar No. 372658)
                                          Robert R. Vieth, Esq. (Bar No. 406941)
                                          LEACH TRAVELL BRITT pc
                                          8270 Greensboro Drive, Suite 1050
                                          McLean, Virginia 22102
                                          Tel: (703) 584-8900
                                          Fax: (703) 584-8901
                                          E-mail: wtravell@ltblaw.com
                                                  rvieth@ltblaw.com

                                          Counsel for Respondent Peter D. Hans




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          The Respondent Peter D. Hans, by the undersigned counsel, submits this memorandum of

points and authorities in support of his motion for attorney’s fees and expenses.

I.        BACKGROUND

          This case arises out of a commission dispute between Mr. Hans and his former employer,

Petitioner FBR Capital Markets & Co. (“FBR”). The dispute was subject to arbitration in the

Washington, D.C. The arbitration was conducted pursuant to the Code of Arbitration Procedure

for Industry Disputes adopted by the Financial Institutions Regulatory Authority (“FINRA”), of

which FBR is a member. In an award issued on March 20, 2013, the arbitration panel awarded

Mr. Hans $267,960.

          In April 2013, FBR filed a petition in this matter seeking to vacate the arbitration award

pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq. Mr. Hans opposed FBR’s

motion and filed his own motion to confirm the award, pursuant to the FAA and the District of

Columbia Revised Uniform Arbitration Act (“DCRUAA”), D.C. Code § 16-4401, et seq. By its

Opinion, Order and Judgment entered October 18, 2013, this Court denied FBR’s petition,

granted Mr. Hans’ motion and confirmed the award in its entirety.

          As the Court’s Opinion noted, FBR’s petition was founded on the notion that the

arbitration panel “manifestly disregarded” the law in rendering the award in favor of Mr. Hans.

Opinion at 4. The Court determined that the continued vitality of the manifest disregard standard

is a “dubious proposition” and consequently “evaluate[d] FBR’s contention with considerable

suspicion.” Opinion at 4-5. Reviewing the arbitration record -- beyond the excerpts cited by

FBR -- the Court held that “[j]ustifiable grounds [for the award] here abound” and that the

panel’s “decision and award treads nowhere close to the manifest disregard it must have

exhibited for this Court to vacate its judgment.” Opinion at 7. Concluding, the Court stated that




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FBR “should not continue to use the courts to re-litigate disputes it has settled -- albeit not in its

favor -- through arbitration.” Opinion at 7.

          Mr. Hans now files this motion for attorneys fees pursuant to D. C. Code § 16-4425(c),

Fed. R. Civ. P. 54 and the Local Rules of this Court.

II.       LEGAL AUTHORITY

          A.        The District of Columbia Revised Uniform Arbitration Act Authorizes This
                    Court to Award Mr. Hans His Reasonable Attorneys Fees and Expenses in
                    This Case.

          The District of Columbia Code, upon which Mr. Hans’ motion is based, states that the

Court confirming an arbitration award may award the prevailing party reasonable attorneys fees

and expenses:

                    On application of a prevailing party to a contested judicial
                    proceeding under § 16-4422, 16-4423, or 16-4424, the court may
                    add reasonable attorney's fees and other reasonable expenses of
                    litigation incurred in a judicial proceeding after the award is made
                    to a judgment confirming . . . an award.
D.C. Code § 16-4425(c).
          Despite the clarity of this statute, Mr. Hans expects FBR to renew its argument that the

entire DCRUAA (including this fee-shifting provision) does not apply, on the theory that FINRA

arbitrations are excluded from the DCRUAA’s coverage under D.C. Code § 16-4403(f)(1). (See

FBR’s Reply (Doc. No. 9) filed May 23, 2013, at 6-7).1 That Code section, however, states only

that:




1
  This Court already may have rejected FBR’s argument by granting Mr. Hans’ motion, which
motion was based in part on the DCRUAA and which requested permission for Mr. Hans to file
this motion for fees and expenses. Because the Court has not yet expressly overruled FBR’s
position, however, Mr. Hans herein presents the reasons why FBR’s contention is not well-
founded.

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                    This chapter does not apply to any arbitrator or any arbitration
                    organization in an arbitration proceeding governed by rules
                    adopted by a securities self-regulatory organization; provided, that
                    the rules are approved by the United States Securities and
                    Exchange Commission under federal law.
D.C. Code § 16-4403(f)(1) (emphasis supplied).2

          As can be seen, nothing in this statute addresses the confirmation of arbitration awards

rendered by FINRA panels. By its terms, the statute speaks to the procedural rules adopted by a

self-regulatory organization such as FINRA, making it clear that any procedural requirements

under DCRUAA do not displace the rules governing arbitrations that are adopted by FINRA and

approved by the SEC. 3 This plain meaning is further confirmed by the statute’s introductory

language, clarifying that the D.C. Act will not apply to “any arbitrator or any arbitration

organization.” FBR’s argument would rewrite this section so that it would read “[t]his chapter

does not apply to any arbitration award” rendered by a FINRA panel. FBR’s interpretation

cannot be squared with the language of the statute. In fact, the terms “arbitrator” and “arbitrator

organization” are defined under the DCRUAA, and they do not equate to “arbitration awards” as



2
 Mr. Hans acknowledges that FINRA is a “securities self-regulatory organization” within the
meaning of Code section 16-4403(f)(1).
3
   For example, the FINRA Code of Arbitration Procedure for Industry Disputes (“FINRA
Code”) states that a claimant initiates an arbitration by filing a “submission agreement” and a
statement of claim with the FINRA Director of Dispute Resolution, who then sends the materials
to the other party and to the arbitrators. FINRA Code Rule 13302, available on the FINRA
website, www.finra.org. The D.C. Code, by contrast, requires a claimant to commence an
arbitration by giving notice directly to the other party by certified or registered mail or “by
service as authorized for the commencement of a civil action.” D.C. Code § 16-4409(a). The
DCRUAA’s exemption for FINRA and its arbitrators makes it clear that D.C. Code § 16-4409(a)
does not govern the commencement of FINRA arbitrations. This is but one example of how the
procedures of a FINRA arbitration itself are to be governed by FINRA Rules rather than the D.C.
Code. There are other examples where the FINRA arbitration procedures are inconsistent with
the DCRUAA pre-award procedures. While the DCRUAA does not supply the rules of
procedure for FINRA arbitrations, it does apply to the enforcement of final FINRA arbitration
awards, just as it applies to other final arbitration awards rendered in the District of Columbia.
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FBR would have them mean. See D.C. Code § 16-4401 (defining “arbitrator” and “arbitration

organization”).

          Finally, FBR offers no reason -- and there is none -- why a final award rendered by

FINRA arbitrators should be treated any differently by a court than other final arbitration awards.

There is no reason to suspect that the legislature intended to exempt FINRA arbitration awards

from the post-award procedures of the DCRUAA, especially when the terms of the Act do not so

provide.

          Because the DCRUAA does not exempt from its coverage “arbitration awards” by

FINRA, the only question is whether Section 16-4425(c), providing for the recovery of attorneys

fees in connection with a motion to confirm an award, is pre-empted by the Federal Arbitration

Act. The principal purpose of the FAA “is simply to ensure the enforceability, according to their

terms, of private agreements to arbitrate.” Volt Information Sciences, Inc. v. Board of Trustees of

the Leland Stanford Junior University, 489 U.S. 468, 476 (1989). Permitting a prevailing party

to recover fees in connection with confirmation of an arbitration award does not conflict with

this federal interest; it promotes that interest. Therefore, the DCRUAA is not pre-empted and

applies here.

          This point is well illustrated by Judge Urbina’s decision in Affinity Financial Corp. v.

AARP Financial, Inc., 794 F. Supp. 2d 117, 123 (D.D.C. 2011), aff’d, 468 Fed. Appx. 4 (D.C.

Cir. 2012), a case on which this Court’s Opinion relies. There, Affinity prevailed in an

arbitration proceeding and, like Mr. Hans here, moved to confirm the award under both the FAA

and the DCRUAA. 794 F. Supp. 2d at 119. After determining that the arbitration award should

be confirmed, the Court awarded Affinity its reasonable attorneys fees and expenses under D.C.

Code § 16-4425(c). This is exactly the relief sought by Mr. Hans in this motion. See also



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Foulger-Pratt Residential Contracting, LLC v. Madrigal Condominiums, LLC, 779 F. Supp. 2d

100, 110 (D.D.C. 2011) (“there is nothing in the [DCRUAA] that conflicts with the policy

behind the FAA”) (citing Masurovsky v. Green, 687 S.2d 198, 204 n. 3 (D.C. 1996)).

          FBR also argued previously that because the parties had agreed that any employment

disputes would be governed by the “substantive law . . . of the Commonwealth of Virginia,” the

attorneys fees provision of the DCRUAA does not apply. (See FBR’s Reply (Doc. No. 9) filed

May 23, 2013, at 7). If the Court has not already rejected this argument (see footnote 1, supra),

it should do so now.

          Merely because the “substantive law” of Virginia governs this dispute does not mean that

the procedures under the Virginia Arbitration Act have any place here. It is clear that “a general

choice of law provision” does not trigger the application of “state arbitration rules or law to

arbitration proceedings.” Jung v. Association of American Medical Colleges, 300 F. Supp. 2d

119, 152 (D.D.C. 2004). To the contrary, D.C. Code § 16-4425(c) is a classic procedural statute.

Under both federal and D.C. law, an application to confirm an arbitration award is intended to be

a summary proceeding. Taylor v. Nelson, 788 F.2d 220, 225 (4th Cir. 1986); Camp v. Kollen,

567 F. Supp. 2d 170, 173-174 (D.D.C. 2008). Because Section 16-4425(c) is a procedural statute

relating to a summary proceeding, it applies to actions in this Court, regardless which state’s

substantive law is applied.4




4
  See, e.g., Missouri, Kansas & Texas Ry. Co. v. Harris, 234 U.S. 412, 420 (1914) (allowing
recovery of attorneys fees under Texas statute even though the federal Carmack Amendment did
not provide for an award of fees, because the Texas statute “only incidentally affects the remedy
for enforcing” the obligations of common carriers); City of Carter Lake v. Aetna Casualty &
Surety Co., 604 F.2d 1052, 1062 (8th Cir. 1979) (awarding attorneys fees under the law of the
forum state, Nebraska, even though the substantive law, supplied by Iowa, did not provide for
awards of fees).
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          Thus, Mr. Hans’ application for fees and expenses is well grounded pursuant to D.C.

Code § 16-4425(c).

          B.        The Fees and Expenses Sought by Mr. Hans Were Reasonably Incurred.

          In evaluating a claim for attorneys fees, this Court looks to the “lodestar” calculation,

taking into account a reasonable hourly rate for the attorney as well as the number of hours

reasonably expended on the tasks. Perdue v. Kenny A., 130 S.Ct. 1662, 1673 (2010); Campbell-

Crane & Assoc., Inc. v. Stamenkovic, 44 A.3d 924, 947 (D.C. 2012).5 Under these principles,

Mr. Hans’ request for attorneys fees should be granted.

                    1.    The Hourly Billing Rates for Mr. Hans’ Counsel are Less Than the
                          Rate for Lawyers with Similar Experience Under the Laffey Matrix
                          and are Appropriate Under the Circumstances of This Case.

          Almost all of the billable work for Mr. Hans on this matter was performed by Robert R.

Vieth, a partner at Leach Travell Britt, who normally bills at an hourly rate of $450 to $495. See

the accompanying Declaration of Robert R. Vieth In Support of Respondent’s Motion For

Attorneys Fees And Expenses (“Vieth Decl.”). The requested rate of $450 is highly reasonable

under the circumstances of this case.

          In determining reasonable hourly rates, this Court often looks to the “Laffey Matrix”

published by the Civil Division of the United States Attorney’s Office for the District of

Columbia.6 See http://www.justice.gov/usao/dc/divisions/Laffey_Matrix_2003-2013.pdf. A




5
  Although Mr. Hans’ counsel, Leach Travell Britt pc (“Leach Travell Britt”), has handled this
matter on a contingency fee basis, the lodestar approach remains the proper method for
determining a reasonable attorneys fee. See, e.g., Blanchard v. Bergeron, 484 U.S. 87, 94-96
(1989).
6
 See Hansson v. Norton, 411 F.3d 231, 236 (D.C. Cir. 2005); Miller v. Holzmann, 575 F. Supp.
2d 2, 14 (D.D.C. 2008), amended in part, vacated in part, U.S. ex rel. Miller v. Bill Harbert Int’l
Constr., Inc., 786 F. Supp. 2d 110 (D.D.C. 2011).
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copy of a printout of the most recently published Laffey Matrix is attached to the Vieth

Declaration as Exhibit D.

          Mr. Vieth’s billing rate of $450 per hour is reasonable under the Laffey Matrix.

Mr. Vieth has approximately 28 years of experience in commercial litigation disputes in the

greater Washington, D.C. area. Vieth Decl. ¶ 3. After concluding a one-year clerkship in this

Court, Mr. Vieth had been with large law firms his entire career, until he joined the boutique firm

of Leach Travell Britt at the beginning of 2012. Vieth Decl. ¶ 3. Mr. Vieth’s billing rate of $450

per hour is at the low end of Mr. Vieth’s normal billing rates for 2013, and considerably lower

than the normal hourly rates he charged while he was a partner at Cooley, LLP, the law firm he

left at the end of 2011. Vieth Decl. ¶¶ 9-11. Moreover, this rate is materially lower than the

applicable 2013 hourly rate for lawyers with comparable experience ($505) under the Laffey

Matrix. See Vieth Decl., Ex. D.7

          Under the overall circumstances of this case, Mr. Vieth’s billing rate is more than

reasonable. This case involved a complicated hearing against a sophisticated financial

institution. FBR was represented in the matter by the Littler Mendelson law firm, a very large

international law firm that is well known for employment-related litigation. The lead counsel on

this matter for FBR is Paul Kennedy, a lawyer who, like Mr. Vieth, graduated from law school in

1984 and who, according to the Littler Mendelson website, occupies a leadership position in the

firm and serves on the firm’s board of directors. See www.littler.com. Mr. Hans needed an




7
  Mr. Vieth’s partner, Wayne Travell, offered advice and services in connection with this matter,
totaling 2.5 hours. Mr. Travell’s time is recorded at his standard billing rate of $485 per hour, a
completely reasonable rate under the Laffey Matrix for a lawyer with over 30 years of
experience in a commercial litigation practice in the Washington, D.C. area. See Vieth Decl. ¶
12.
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experienced lawyer in this matter, given the resources brought to the proceedings by FBR and its

able counsel.

                    2.   The Number of Hours Expended by Mr. Hans’ Counsel in This
                         Matter Was Reasonable.

          As detailed in the Vieth Declaration, Mr. Vieth expended 76.7 hours on the judicial

enforcement aspects of this case, and Mr. Travell expended 2.5 hours. This case not only

involved researching and briefing the emerging case law relating to the standards applicable to

overturning an arbitration award, but also required a detailed examination of the arbitration

record. As this Court well knows, FBR’s motion was premised on the notion that the award was

so out of bounds that the panel must have manifestly disregarded the law and the evidence so as

to render a legally unsustainable award. While it is easy now to be dismissive of FBR’s position

-- and, indeed, the Court’s Opinion suggests that FBR’s position lacked substantial merit -- the

rebuttal of FBR’s arguments required a thorough review of the entire case transcript and the

numerous exhibits to put forward the evidence that supported the award in Mr. Hans’ favor. Of

course, counsel also had to draft three legal memoranda in this proceeding (counting this one).

In addition, counsel took notice of a relevant new Supreme Court Opinion and brought it to the

Court’s attention through a Notice of Supplemental Authority. See Oxford Health Plans LLC v.

Sutter, 133 S.Ct. 2064 (June 10, 2013).

          The Vieth Declaration contains the actual contemporaneous time entries recorded by

Mr. Vieth and Mr. Travell during their work on the case.8 Those entries may be categorized as

follows:




8
  Counsel also exercised “billing judgment” by striking certain time entries and thereby reducing
the amount sought by $3,960.00. Vieth Decl. ¶ 7. See, e.g., Hensley v. Eckerhart, 461 U.S. 424,
434 (1983) (describing appropriate “billing judgment”).
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               Analyzing FBR’s opening brief, reviewing the transcript and arbitration record,

               conducting legal research and drafting the initial opposition to FBR’s petition and

               motion to confirm the award: 50.4 hours for Mr. Vieth and 1.5 hours for Mr. Travell,

               for a subtotal of $23,407.50.

              Analyzing FBR’s reply brief, conducting further legal research and drafting the reply

               memorandum in support of the motion to confirm the award: 11.9 hours for

               Mr. Vieth and .60 hours for Mr. Travell, for a subtotal of $5,646.00.

              Reviewing the June 10, 2013 opinion in Oxford Health Plans and drafting the Notice

               of Supplemental Authority: 2.7 hours for Mr. Vieth and .40 hours for Mr. Travell, for

               a subtotal of $1,409.00.

              Reviewing the Court’s Opinion, Order and Judgment, and drafting the instant motion

               for attorneys fees and expenses and accompanying papers: 11.7 hours for Mr. Vieth,

               for a subtotal of $5,265.00.

          Therefore, the total amount of attorneys fees reasonably expended in this matter, and for

which Mr. Hans seeks recovery, is $35,727.50

                    3.    The Cost of the Transcript of the Arbitration Proceeding Was
                          Reasonably Incurred by Mr. Hans.

          When FBR filed its Petition seeking to have the arbitration award vacated, it attached

mere excerpts of the testimony adduced at the hearing, designed to present a one-sided version of

the evidence. Because FBR’s Petition went to the sufficiency of the evidence, Mr. Hans had to

incur the expense of obtaining a complete transcript of the arbitration proceeding, a copy of

which he filed in support of his motion to confirm the award.

          Under Local Rule 54.1(d)(7), the Clerk shall tax:




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                    The cost, at the reporter’s standard rate, of the original and one
                    copy of the reporter’s transcript of a hearing or trial if the
                    transcript: (i) is alleged by the prevailing party to have been
                    necessary for the determination of an appeal within the meaning of
                    Rule 39(e), Federal Rules of Appellate Procedure, or (ii) was
                    required by the court to be transcribed; . . . .

Local Rule 54.1(d)(7); see also Miller, 575 F. Supp. 2d at 9-10 (awarding transcript costs and

noting that the opposing party bears the burden of establishing a “good reason” to deny costs).

          To be sure, the Rules do not speak with absolute clarity as to the award of costs for

transcripts of hearings before an arbitration panel. But Mr. Hans submits that, under the

circumstances of this case, a transcript was necessary to demonstrate to the Court that the panel

did not manifestly disregard the law or evidence. Mr. Hans only seeks reimbursement for one

copy of the hearing transcript, as actually charged by the reporter. Vieth Decl. ¶ 8.

          Mr. Hans incurred the cost of $3,183.51 in connection with that transcript for which he

seeks recovery.9
III.      CONCLUSION


          For the foregoing reasons, Mr. Hans requests that the Court award him reasonable

attorneys fees in the amount of $35,727.50, plus expenses in the amount of $3,183.51.


                                                 Respectfully submitted,

                                                        /s/
                                                 Wayne G. Travell, Esq. (Bar No. 372658)
                                                 Robert R. Vieth, Esq. (Bar No. 406941)
                                                 LEACH TRAVELL BRITT pc
                                                 8270 Greensboro Drive, Suite 700
                                                 McLean, Virginia 22102
                                                 Tel: (703) 584-8900
                                                 Fax: (703) 584-8901
                                                 E-mail: wtravell@ltblaw.com
                                                         rvieth@ltblaw.com
                                                 Counsel for Respondent Peter D. Hans
Dated: October 23, 2013
9
 Mr. Hans also has filed a Bill of Costs with the Clerk seeking the recovery of the transcription
costs under Rule 54(d)(1) and Local Rule 54.1.
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                                   CERTIFICATE OF SERVICE


          I hereby certify that on this 23rd day of October, 2013, a true and correct copy of the

foregoing Memorandum in Support of Respondent’s Motion for Attorneys Fees and Expenses

was filed via the Court’s CM/ECF system, which system will send notification of this filing to

the counsel below, and served by electronic mail and by first-class mail, postage prepaid, upon

the following:


                                 Paul J. Kennedy, Esq.
                                 S. Libby Henninger, Esq.
                                 Littler Mendelson, P.C.
                                 1150 17th Street, N.W., Suite 900
                                 Washington, D.C. 20036
                                 T: (202) 842-3400
                                 F: (202) 842-0011
                                 pkennedy@littler.com
                                 lhenninger@littler.com



                                                               /s/
                                                        Robert R. Vieth




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